Case 1:17-md-02800-TWT Document 209-2 Filed 02/06/18 Page 1 of 2

UNITED STATES DISTRICT COURT
NOTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

IN RE EQUIFAX, INC., CUSTOMER MDL DOCKET NO. 2800
DATA SECURITY BREACH
LITIGATION 1:17-md-2800-TWT

ALL CASES

[PROPOSED] ORDER GRANTING THE CONSENT
MOTION TO LIFT RESTRICTIONS ON MEDIA

On February 1, 2018, certain plaintiffs' counsel, pursuant to Local Rule 83.4,
moved for an Order permitting the use of portable computers, cellular telephones, pagers
and personal communication devices without cameras, and electronic devices equipped
with cameras, including cellular telephones, personal digital assistances and laptop
computers, to be allowed into the courthouse and used in the courtroom before, during,
and after the Hearing on Applications for Leadership Appointments scheduled to take
place on February 9, 2018, in Courtroom 2108, 2388 Richard B. Russell Federal Building
and United States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303-3309.
Based on all files and documents herein, that the motion is GRANTED. Accordingly:

1. Counsel may use portable computers, cellular telephones, pagers and

personal communication devices without cameras, and electronic
devices equipped with cameras, including cellular telephones, personal
digital assistances and laptop computers, to aid their presentation of

evidence or perpetuation of the record, in accordance with the purposes

of Local Rule 83.4,
Case 1:17-md-02800-TWT Document 209-2 Filed 02/06/18 Page 2 of 2

at Specifically, the attorneys listed on Exhibit A hereto are permitted to bring
electronic devices, including one each of cellular telephones, and either
a portable computer or electronic tablet computer, to Courtroom 2108 on

February 9, 2018.

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Counsel are prohibited from taking photographs or operating recording
devices during courtroom proceedings. Counsel shall not take
photographs, operate tape recorders, or otherwise record electronically
any proceeding or other occurrence in the courthouse or courtrooms
described above.

4. Counsel shall not operate any device outlined above in any public area

where their operation is disruptive of any court proceeding.

IT IS SO ORDERED, this day of February, 2018.

The Honorable Thomas W. Thrash, Jr.
United States District Court
Northern District of Georgia
